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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW MEXICO



JESUSITA AGUIRRE,

       Plaintiff,

v.                                                       Civ. No. 18-153 DHU/GBW

ATRIUM MEDICAL CORP., et al.,

       Defendants.

                    ORDER QUASHING ORDER TO SHOW CAUSE

       THIS MATTER is before the Court on Plaintiff’s Response to the June 15, 2022[,]

Order to Show Cause. See doc. 103. On June 15, 2022, the Court vacated the settlement

conference set for June 22, 2022, due to deficiencies in Plaintiff’s settlement conference

submissions and ordered Plaintiff to show cause for these deficiencies. See doc. 102 at 2.

In her response filed on June 21, 2022, and during a status conference the following day,

Plaintiff attributed these deficiencies to her counsel not understanding the Court’s

expectations for the content of her settlement conference submissions and needing

additional time to complete some document review to produce submissions that met

the Court’s clarified expectations. See doc. 103 at 5; doc. 104 at 2. Accordingly, the Court

FINDS that Plaintiff has shown good cause for her deficient settlement conference

submissions and QUASHES its Order to Show Cause (doc. 102). IT IS HEREBY

ORDERED that the Court’s Order to Show Cause (doc. 102) is QUASHED.
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 IT IS SO ORDERED.




                              ____________________________________
                              GREGORY B. WORMUTH
                              UNITED STATES MAGISTRATE JUDGE
